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                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEBRASKA

 JANE DOE,                                       Case No. 4:21-cv-3049
 Plaintiff,
                                                 Hon. John M. Gerrard
 v.
                                                 Jury Demanded
 BOARD OF REGENTS OF THE
 UNIVERSITY OF NEBRASKA; and
 individuals TAMIKO STRICKMAN
 and JOHN ROE, individually and in
 their official capacities; and OTHER
 UNIDENTIFIED DEFENDANTS;
 Defendants.


                           PLAINTIFFS’ EXPERT WITNESS LIST

         Plaintiff Jane Doe, by and through her attorneys Temperance Legal Group, PLLC, and

Elizabeth Abdnour Law, PLLC, hereby submits her expert witness list pursuant to Fed. R. Civ. P.

26(a)(2)(A).

      1. Lin-Chi Wang, JD
         Wang Law, LLC
         Allentown, Pennsylvania
         (484) 340-6269

         Ms. Wang’s testimony may include, without limitation, proper Title IX procedures
         required of federal funding recipients and whether UNL complied with those procedures
         with respect to Plaintiff’s reports of Title IX violations.

      2. Andrew Verzilli, MBA
         Verzilli Consulting Group, Inc.
         411 North Broad Street
         Lansdale, Pennsylvania 19446
         (215) 368-7797

         Mr. Verzilli’s testimony may include, without limitation, economic analysis quantifying
         Plaintiff’s lost earning capacity.

      3. Frank Ochberg, MD
         4211 Okemos Road, Suite 6
                                                                                    EXHIBIT
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       Okemos, Michigan 48864
       (517) 349-6333

       Dr. Ochberg’s testimony may include, without limitation, the neurological and
       psychological effects of institutional trauma and betrayal on an individual.

   4. Any necessary rebuttal witnesses.

       Expert witness reports have been prepared and are being shared with counsel for

Defendants today pursuant to the February 2, 2022, Case Progression Order. Experts’ curricula

vitae are being included as attachments to this filing pursuant to Neb. Civ. R. 16.2(a)(2)(E).

       Plaintiff reserves the right to supplement this list as information about her claims and/or

Defendants’ defenses becomes known throughout the course of investigation and discovery.



Date: September 20, 2022                      Respectfully submitted,

                                              s/Elizabeth K. Abdnour
                                              Elizabeth K. Abdnour
                                              Elizabeth Abdnour Law, PLLC
                                              1100 W. Saginaw Street, Suite 4A-2
                                              Lansing, Michigan 48915
                                              P: (517) 292-0067
                                              F: (517) 709-7700
                                              elizabeth@abdnour.com

                                              Karen Truszkowski
                                              Temperance Legal Group, PLLC
                                              503 Mall Court #131
                                              Lansing, Michigan 48912
                                              P: (844) 534-2560
                                              F: (800) 531-6527
                                              karen@temperancelegalgroup.com

                                              Attorneys for Plaintiffs




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                                    PROOF OF SERVICE

       I hereby certify that on September 19, 2022, I electronically filed the foregoing paper with

the Clerk of the Court using the ECF system which will send notification of such filing to all

attorneys of record.


                                             s/ Elizabeth K. Abdnour
                                             ELIZABETH ABDNOUR LAW, PLLC
                                             Attorney for Plaintiffs




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                                              LIN-CHI WANG
                                   linchi@wanglawllc.com ● 484-340-6269


                                      PROFESSIONAL EXPERIENCE

WANG LAW, LLC, Allentown, PA, October 2021 - present
Founder and Attorney
   ● Nationwide solo civil rights law practice focused on Title IX, Title VI, Title VII, and anti-discrimination
      compliance, policy and practice, consulting, training, investigations, and adjudications for schools and
      workplaces.
   ● Represent individuals who are involved in a school or workplace investigation.
   ● Confidential counseling for leaders and managers on complex decision-making related to
      anti-discrimination, sexual harassment, Title VI, Title VII, and/or Title IX matters.
   ● Approved sexual misconduct investigator for United Educators (UE)
   ● Speaking engagements:
          ○ Title IX Investigative Report Writing (October 2021)
          ○ Title IX Emergency Removal in the K-12 Environment (March 2022)
          ○ Demystifying the Title IX Process (March 2022)

MUHLENBERG COLLEGE, Allentown, PA, June 2018 – August 2021
Director of Equity & Title IX Coordinator, and Associate Dean of Students
   ● Led the Equity & Title IX oﬃce at the college in service of all faculty, staﬀ, and students.
   ● Implemented and oversaw all eﬀorts at the institution related to civil rights and equal opportunity
       compliance, including Title IX, working closely with the Vice President of Student Aﬀairs, Provost, and
       Vice President of Human Resources.
   ● Enforced the institution's nondiscrimination policy in responding to reports and coordinating resolution
       processes of possible policy violations.
   ● Served as primary investigator and conducted prompt, unbiased, and equitable investigations of formal
       complaints made under the policy.
   ● Presented trainings and led education and awareness eﬀorts related to protected category discrimination,
       sexual misconduct, intimate partner violence, and stalking for students, faculty, staﬀ, and athletics.
   ● Co-coordinated Clery compliance with Director of Campus Safety/Chief of Police.
   ● Co-coordinated the bias education and response team with the Associate Provost of Faculty Diversity
       Initiatives.
   ● Assisted with crisis response as part of College’s leadership team.
   ● Oversaw sexual and gender violence prevention eﬀorts and supervised the Assistant Director of
       Prevention Education for sexual and gender violence.
   ● Drafted and facilitated approval process of the College’s anti-discrimination policies and processes,
       including Title IX, in 2018-19.
   ● Professional trainings received:
            ○ ATIXA Civil Rights Investigator Training (2018)
            ○ National Association of College and University Attorneys Annual Conference (2018)
            ○ NACUA Title IX Coordinator Training (2019)
            ○ Cozen O’Connor Title IX Coordinator, Investigator, and Decision-Maker training (2020)
            ○ Clery Center: Clery Act Training Seminar (2020)
            ○ USD Center for Restorative Justice: Restorative Justice for Campus Sexual Harm Intensive
                Facilitator Training (2021)


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MICHIGAN STATE UNIVERSITY, East Lansing, MI, March 2016 – June 2018
Title IX & Equity Investigator
    ● Conducted investigations and made findings of claims of sexual misconduct, relationship violence,
        stalking, sexual exploitation, discrimination or harassment based on a protected category, and retaliation
        involving students, faculty, staﬀ, and third parties pursuant to the University’s Relationship Violence and
        Sexual Misconduct and Anti-Discrimination policies.
    ● Developed and conducted trainings that enhanced equity, diversity, and inclusion eﬀorts at the university
        and promoted better understanding of prohibited discrimination and harassment for students, faculty,
        administration, and employees at the university.
    ● Provided advice and expertise to the campus community on university policies governing civil rights,
        education, privacy, employment, and labor law.
    ● Worked collaboratively with campus partners in the Oﬃce of General Counsel, human resources, student
        conduct, campus police, Oﬃce of International Students and Scholars, Resource Center for Persons with
        Disabilities, university housing, and counseling and advocacy services to address incidents and discuss
        preventative programming.
    ● Professional trainings received:
            ○ Clery Act compliance (2016)
            ○ American Association for Access, Equity and Diversity Annual Conference (2016)
            ○ Sexual assault trauma-informed interviewing with Tom Tremblay (2017)
            ○ Neurobiology of sexual assault trauma with Dr. Rebecca Campbell (2017)
            ○ American Bar Association Labor and Employment Law Annual Conference (2018)

WHITE SCHNEIDER, PC, Okemos, MI, March 2014 – March 2016
Associate Attorney
   ● Represented clients in civil and criminal proceedings, primarily focused on labor and employment law, at
       administrative hearings, arbitrations, District Courts, Circuit Courts, the Michigan Court of Claims, and
       the Michigan Court of Appeals. Wrote memos, motions, briefs, and orally argued issues under Title VI,
       Title VII, ADA, and state discrimination laws; the Family Medical Leave Act; Freedom of Information
       Act; the National Labor Relations Act; and the following Michigan laws: Teachers’ Tenure Act; the
       Public Employment Relations Act; the Revised School Code sections 1248 & 1249; Employment
       Security Act; Administrative Code.

THE HONORABLE JUDGE CHARLES FILICE, Lansing, MI, February 2013 – March 2014 Judicial Law
Clerk
   ● Provided support to the Judge through serving as liaison between the Judge, attorneys, parties, law
      enforcement, and departments within the court; ensured an eﬃcient flow of cases by eﬀectively
      communicating with lawyers, court staﬀ, members of agencies and the public and by thoroughly
      understanding all civil and criminal proceedings.
   ● Mediated in pro per landlord-tenant cases.

LEGAL SERVICES OF EASTERN MICHIGAN, Flint, MI, October – December 2012
Advocate
   ● Researched, drafted memos, and provided legal advice to indigent clients on a range of legal issues,
       including domestic relations, landlord-tenant, consumer, public benefits, and creditor-debtor laws.

MICHIGAN STATE UNIVERSITY, COLLEGE OF LAW,LEGAL CLINIC, East Lansing, MI, August
2011-May 2012
Small Business & Non-Profit Student Clinician Attorney


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                                             LICENSURE

   ●   State Bar of Michigan, Active member (P77014)
   ●   Pennsylvania Bar Association, Active member (293001)

                                             EDUCATION

MICHIGAN STATE UNIVERSITY COLLEGE OF LAW, May 2012, Juris Doctor, cum laude, East
Lansing, MI

UNIVERSITY OF FLORIDA, December 2006, Master of Music, Gainesville, FL

UNIVERSITY OF MICHIGAN, May 2004, Bachelor of Music, University Honors, Ann Arbor, MI




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                            ANDREW C. VERZILLI, M.B.A
                                       CURRICULUM VITAE



411 North Broad Street                                                        Office: (215) 368-7797
Lansdale, PA 19446                                                  Email: andrew.verzilli@gmail.com



Education

December 1991            Master’s Degree in Business Administration
                         La Salle University, Philadelphia, PA
                         Major: Finance

June 1988                Bachelor of Science Degree in Business Administration
                         Drexel University, Philadelphia, PA
                         Majors: Economics & Management of Information Systems


Experience

Verzilli Consulting Group, Inc./ Verzilli & Verzilli and Consultants, Inc. (Andrew G.
Verzilli, Ph.D. & AssociatesJune 1988 to Present)
        Principal & Economist (June 1994 to Present)

        x   Provide economic and financial analysis in the preparation of reports for
            litigation in various jurisdictions involving:
                    o Earning Capacity Estimates
                    o Business Valuations
                    o Statistical Analysis
                    o Pension Valuations
                    o Structured Settlement Valuations
                    o Medical Care Costs
        x   Provide economic and financial analysis for small businesses and
            municipalities
        x   Provide Analysis of Collective Bargaining Agreements for Townships and
            Police Organizations
        x   Expert testimony has been provided in State and Federal courts, including the
            following jurisdictions:
                    o Federal District Courts:
                                    Eastern/Middle District of PA, District of NJ,
                                     Eastern/Southern District of NY, West Palm Beach FL,
                                     Orlando FL, Southern District of OH, Southern District of IN,
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                               District of Maryland, District of Arizona, and Western
                               District of NC.
                 o Various Commonwealth Courts in Pennsylvania:
                           Adams County, Allegheny County, Beaver County, Berks
                               County, Bucks County, Cambria County, Carbon County,
                               Centre County, Chester County, Dauphin County, Delaware
                               County, Erie County, Fayette County, Franklin County, Kent
                               County, Lackawanna County, Lancaster County, Lehigh
                               County, Luzerne County, Lycoming County, Monroe County,
                               Montgomery County, Northampton County, Northumberland
                               County, Philadelphia County, Potter County, Susquehanna
                               County, Washington County, Wyoming County, York
                               County.
                 o Various Commonwealth Courts in New Jersey:
                           Atlantic County, Burlington County, Camden County,
                               Gloucester County, Jersey City, Mercer County, Middlesex
                               County, Monmouth County, Morris County.
                 o Other Commonwealth Courts:
                           City of Norfolk, VA; Fairfield County, CT; Kings County,
                               NY; Linn County, IA; Monroe County, IA; Maricopa County,
                               AZ; Montgomery County, MD; New Castle County, DE;
                               New York County, NY; Norfolk, VA; Sussex County, DE.


Teaching

Drexel University, Department of Economics
       Adjunct Instructor (January 1992 to April 1999)

             x   Instructor in Principles of Macroeconomics and Principles of
                 Microeconomics (Undergraduate Day & Evening College)
             x   Student course evaluations were consistently above the average for the
                 Department of Economics
             x   Highest student course evaluations in Department of Economics for
                 Fall Term, 1993


Other Experience

Andrew G. Verzilli, Ph.D. & Associates (Philadelphia, PA)
     Apprentice Economic Analyst Work Manager
     (co-op employment through Drexel University)
          x Provided assistance and support in the preparation of economic reports
              involving personal earning capacity estimates for litigation in various
              jurisdictions. Assisted in the valuation of structured settlements and
              pension plans
          x Coordinated business operations



                                  A.C. Verzilli, M.B.A. Page ʹ
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General Services Administration (Philadelphia, PA)
      Assistant System Manager
      (co-op employment through Drexel University)
           x Maintained databases for the Federal Protection and Safety Division,
               and assisted in the development of computer training programs for
               division employees
           x Assisted in the development of a networked computer system for GSA.
               Responsible for the maintenance of mini-computer system and
               applications


Research & Presentations

      “Jimmynomics, Reaganomics, Georgienomics: What’s Next?” (with Verzilli,
      A.G.; Swift, T.; Donato, C; et al.) - Paper presented at the Pennsylvania Economic
      Association Annual Conference, May, 1991. Published in PEA Annual
      Proceedings, 1991.

      “Real Interest Rates and Economic Growth: An Historical Perspective” - Paper
      presented at the Pennsylvania Economic Association Annual Conference, June,
      1992. Published in PEA Annual Proceedings, 1992.

      “Agenda for Economic Growth” (with Verzilli, A.G.; Swift, T.; Donato, C.;
      Collons, K; et al.) Paper presented at the Pennsylvania Economic Association
      Annual Conference, June, 1992. Published in PEA Annual Proceedings, 1992.

      “The Effect of Tax Policy and Productivity” (with Verzilli, A.G.; Swift, T.;
      Donato, C; Collons, K; et al.) Paper presented at the Pennsylvania Economic
      Association Annual Conference, June. 1992. Published in PEA Annual
      Proceedings, 1992.

      “Estimating Earning Capacity and Other Valuation issues – Why Use an
      Economist” Presentation with Verzilli, A.G.; Post & Schell Seminar, April 16,
      1993 (Philadelphia, PA).

      “Social Security: Who Will Pay (2000 and beyond)?” - Paper presented at the
      Pennsylvania Economic Association Annual Conference, May, 1993. Published in
      PEA Annual Proceedings, 1993.

      “Our Past Presidents Wonder: Is Clintonomics the Light at The End of the
      Tunnel?” (with Verzilli, A.G.; Beachel, J.; Swift, T; Collons, K; et al.) Paper
      presented at the Pennsylvania Economic Association Annual Conference, May,
      1993. Published in PEA Annual Proceedings, 1993.




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      “The Economist Can Not Estimate the Value of Hedonic Damages” - Paper
      presented at the Pennsylvania Economic Association Annual Conference, May,
      1994. Published in PEA Annual Proceedings, 1994.

      “Clintonomics – Good Morning? – Good Night? – or Good Bye” (with Verzilli,
      A.G.; Collons, K; Donato, C; Swift, T; et al.) Paper presented at the Pennsylvania
      Economic Association Annual Conference, May, 1994. Published in PEA Annual
      Proceedings, 1994.

      “Executive Compensation & Productivity – Are Executives Worth Their
      Salaries?” (with C. Won-Martinez) Paper presented at the Pennsylvania Economic
      Association Annual Conference, May, 1994. Published in PEA Annual
      Proceedings, 1994.

      “The Impact of Corporate Downsizing in The Northeast” (with C. Wong-
      Martinez) Presented at the PEA Conference, June, 1995.

      “The Economics of Railroad Retirement Pensions” (with C. Donato) Presented at
      the PEA Conference, June, 1995.

      “The Impact of Slander on the Profitability of a Firm” - Presented at the PEA
      Conference, June, 1996.

      “Examining Medical & Non-Medical Experts in Civil Litigation” - Presented at
      the Lancaster County Bar Association, June 2001. Published in The Pennsylvania
      Bar Institute, 2001.

      “Economic Issues in Pennsylvania Courts” - Presentation at the Lancaster County
      Bar Association, May, 2005.

      “Economics in Civil Litigation” - Presented at the Bucks County Bar Association
      Monthly Civil Litigation Meeting, March, 2009.

      “Presenting and Defending Catastrophic Injury Claims” (Presentation at the
      Pennsylvania Bar Institute: CLE, October, 2011. Published in The Pennsylvania
      Bar Institute, PBI No. 2011-6943.

      “How Juries View Tractor Trailer Accidents” - Presented at the Pennsylvania Bar
      Institute: CLE, August, 2012. Published in The Pennsylvania Bar Institute, PBI
      No. 2012-7353.

      Presenting as an Economic Expert at the Committee for Justice for All: CLE
      Seminar (April, 2017).




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      “Litigating the Traumatic Brain Injury Case” - Presented at the Pennsylvania Bar
      Institute: CLE, March, 2019. Published in The Pennsylvania Bar Institute, PBI
      No. 2019-10689.

      Guest Lecturer at Temple University, Beasley School of Law. (Advanced Trial
      Advocacy, September 2015-present)


Association Membership & Non-Profit Organizations
      National Association of Forensic Economics
      American Economic Association

      Lansdale Little League               President (August, 2004 to August, 2007)
      Cannoneers Baseball:                 Trustee (2007-2011)
      Lansdale Catholic High School        Asst. Varsity Baseball Coach (2009-2010)


Awards

             General Services Administration Outstanding Performance (college)
             General Services Administration Certificate of Achievement (college)




                                  A.C. Verzilli, M.B.A. Page ͷ
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